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      In The United States Court of Federal Claims
                                              No. 09-460L

                                      (Filed: June 1, 2012)
                                           __________

 DOUGLAS R. BIGELOW TRUST,
 JAMIE MORTENSON, et al.,
 On behalf of themselves and all other
 similarly situated persons,

                                Plaintiffs,

                         v.

 THE UNITED STATES,

                                Defendant.
                                               _________

                                                ORDER
                                               _________

       A telephonic status conference will be held in this case on Tuesday, June 12, 2012, at
2:00 p.m. (EDT). Chambers will contact the parties shortly before the scheduled conference
time.

       IT IS SO ORDERED.


                                                      s/ Francis M. Allegra
                                                      Francis M. Allegra
                                                      Judge
